                         UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF NORTH CAROLINA
                             DOCKET NO. 1:23-cv-114

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 JOHN DOE

                                Plaintiff,

       -against-                                                      PROPOSED ORDER

 WAKE FOREST UNIVERSITY,

                                 Defendant.
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       Upon the Ex Parte motion of the Plaintiff for an order permitting the filing of the

complaint, summons and Motion to Proceed Under Pseudonym. For the reasons set out in

the Motion, supporting memorandum of law and declaration, and for other good cause

shown, the motion is hereby GRANTED.

       Therefore, it is hereby ORDERED that the complaint, summons, federal civil cover

sheet, and Motion to Proceed Under Pseudonym, and all other accompanying filings in this

action shall be placed under seal until such time as proof of service of the Summons and

Complaint is returned and filed by Plaintiff with the Clerk of the Court.

       SO ORDERED, this ___ day of February 2023.

                                                   __________________________________
                                                    UNITED STATES DISTRICT JUDGE




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